Case 19-17707-mdc          Doc 18   Filed 05/05/20 Entered 05/05/20 12:23:10            Desc Main
                                    Document     Page 1 of 4



                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In Re:                                            Bankruptcy No. 19-17707-mdc

 ANTHONY S. BRUTTANITI,                            Chapter 13

       Debtor,                                     Document No.

 SPECIALIZED LOAN SERVICING, LLC,
 AS SERVICING AGENT FOR CREDIT
 SUISSE FIRST BOSTON MORTGAGE
 SECURITIES CORP., HOME EQUITY
 ASSET TRUST 2006-3, HOME EQUITY
 PASS-THROUGH CERTIFICATES, SERIES
 2006-3, U.S. BANK NATIONAL
 ASSOCIATION, AS TRUSTEE,

       Movant,

 ANTHONY S. BRUTTANITI and
 WILLIAM C. MILLER, Trustee,

       Respondents.

                    MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          AND NOW, comes Movant, Specialized Loan Servicing, LLC, as Servicing Agent for

Credit Suisse First Boston Mortgage Securities Corp., Home Equity Asset Trust 2006-3, Home

Equity Pass-Through Certificates, Series 2006-3, U.S. Bank National Association, as Trustee

(the “Movant”), by and through its undersigned counsel, Bernstein-Burkley, P.C., and files this

Motion for Relief from the Automatic Stay (the “Motion”), represents as follows:

          The Parties

          1.     Respondents, Anthony S. Bruttaniti and (“Debtor”), is an adult individual with a

place of residence located at 1432 S. Broad St., Philadelphia, PA 19146.

          2.     William C. Miller, is the duly appointed Chapter 13 Trustee and is currently

acting in such capacity.
Case 19-17707-mdc        Doc 18    Filed 05/05/20 Entered 05/05/20 12:23:10             Desc Main
                                   Document     Page 2 of 4



       Jurisdiction and Venue

       3.      This matter is a core proceeding and this Court has jurisdiction pursuant to 28

U.S.C. § 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. Movant seeks relief

pursuant to 11 U.S.C. § 362(d) and FRBP 4001 and 9014.

       Factual Background

       4.      On or about December 10, 2019, Debtor filed a voluntary petition for relief

pursuant to Chapter 13 of the Bankruptcy Code.

       5.      Movant holds a first mortgage (the “Mortgage”) on Debtor’s real property located

at 1432 S. Broad St., Philadelphia, PA 19146 ("Property"), recorded in the Office of the

Commissioner of Records, City of Philadelphia, to secure a Note (the “Note”) with a principal

balance of $240,000.00. True and correct copies of the Mortgage, Assignment of Mortgage,

Note, and Loan Modification are attached hereto as Exhibits A, B, C, and D, respectively.

       6.      The outstanding balance owed to the Movant on the above referenced Note is

$249,412.98, which includes: $12,425.85 in interest, $1,158.49 in deferred principal, $3,744.13

in escrow advances, $1,251.60 in legal fees and ($298.22) less in suspense or partial balance paid.

       7.      Pursuant to the Note, mortgage payments are due on the 1st day of each month.

The monthly mortgage payment is $1,403.36.

       8.      Debtor has estimated the value of the Property as $506,361.60 on Schedule D of

his Voluntary Petition. Therefore, there is equity in the Property. See, Voluntary Petition,

Section D.

       9.      Debtor’s Chapter 13 Plan requires Debtor to make monthly Mortgage payments to

the Movant outside of the Plan.

       10.     Debtor has failed to make post-petition mortgage payments due to the Movant.

Debtor is currently four post-petition payments in arrears and is due for the January 01, 2020

post-petition payment.
Case 19-17707-mdc          Doc 18     Filed 05/05/20 Entered 05/05/20 12:23:10                  Desc Main
                                      Document     Page 3 of 4


        11.     Specialized Loan Servicing, LLC services the loan on the Property referenced in this

Motion. In the event the automatic stay in this case is modified, this case dismisses, and/or the Debtor

obtains a discharge and a foreclosure action is commenced on the mortgaged property, the foreclosure

will be conducted in the name of Movant or Movant's successor or assignee. Movant, directly or through

an agent, has possession of the Note. The Note is either made payable to Movant or has been duly

endorsed. Movant is the original mortgagee or beneficiary or the assignee of the Mortgage/Deed of Trust.

        12.     Therefore, Movant is entitled to relief from the automatic stay for cause, including

the lack of adequate protection, because Debtor has failed to make post-petition Mortgage

payments to Specialized Loan Servicing, LLC, as Servicing Agent for Credit Suisse First Boston

Mortgage Securities Corp., Home Equity Asset Trust 2006-3, Home Equity Pass-Through

Certificates, Series 2006-3, U.S. Bank National Association, as Trustee. 11 U.S.C. §362(d)(1).




                      THIS SPACE IS INTENTIONALLY LEFT BLANK
Case 19-17707-mdc        Doc 18    Filed 05/05/20 Entered 05/05/20 12:23:10            Desc Main
                                   Document     Page 4 of 4



       WHEREFORE, Movant, Specialized Loan Servicing, LLC, as Servicing Agent for Credit

Suisse First Boston Mortgage Securities Corp., Home Equity Asset Trust 2006-3, Home Equity

Pass-Through Certificates, Series 2006-3, U.S. Bank National Association, as Trustee,

respectfully requests that this Honorable Court enter an Order granting Specialized Loan

Servicing, LLC, as Servicing Agent for Credit Suisse First Boston Mortgage Securities Corp.,

Home Equity Asset Trust 2006-3, Home Equity Pass-Through Certificates, Series 2006-3, U.S.

Bank National Association, as Trustee, relief from the automatic stay with regard to the real

property located at 1532 S.Broad St., Philadelphia, PA 19146.

                                                     Respectfully submitted,

                                                     BERNSTEIN-BURKLEY, P.C.

                                                     By:/s/ Keri P. Ebeck
                                                     Keri P. Ebeck, Esq.
                                                     PA I.D. # 91298
                                                     kebeck@bernsteinlaw.com
                                                     707 Grant Street
                                                     Suite 2200, Gulf Tower
                                                     Pittsburgh, PA 15219
                                                     (412) 456-8112

                                                     Counsel for Specialized Loan Servicing,
                                                     LLC, as Servicing Agent for Credit Suisse
                                                     First Boston Mortgage Securities Corp.,
                                                     Home Equity Asset Trust 2006-3, Home
                                                     Equity Pass-Through Certificates, Series
                                                     2006-3, U.S. Bank National Association, as
                                                     Trustee
Dated: May 5, 2020
